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                                                                 United States Bankruptcy Court
                                                                     Southern District of Texas

                                                                        ENTERED
                                                                    December 05, 2024
              IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS                   Nathan Ochsner, Clerk

                         HOUSTON DIVISION

IN RE:                                §
                                      §      CASE NO: 24-90505
RED RIVER TALC LLC,                   §
                                      §
         Debtor.                      §
                                      §
                                      §      CHAPTER 11

               ORDER TEMPORARILY ABATING DEADLINES
                  RELATED TO PLAN CONFIRMATION
                          (RE: ECF NO. 352)

      The deadlines in the Agreed Case Management Order at ECF No. 352 are
temporarily abated. The Court will conduct a hearing on December 10, 2024 at
11:00 a.m. CT about amending some or all of the remaining deadlines.




         August 02,
         December 05,2019
                      2024
